Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 1 of “@
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NON-NEGOTIABLE NOTICE OF ACCEPTANCE On
Notice Date: Day: Twenty-three Month: Two Year: 2023 CE Y =

WILLIAM M MCCOLL

CLERK OF COURT, UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

1717 Pacific Ave., Suite 3100

Tacoma, WA 98402

In reply to : “U.S. District Court United States District Court for the Western District of Washington (Tacoma) CRIMINAL
DOCKET FOR CASE #; 3:21-mj-05036-DWC-1 Case title: USA v. Johnatakis Date Filed: 02/11/2021 Assigned to: Judge
David W. Christel Defendant (1) Taylor James Johnatakis, Docket Test 13 45678910 11 12 13, certified mail”

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, accept your Presentment
“U.S. District Court United States District Court for the Western District of Washington (Tacoma)
CRIMINAL DOCKET FOR CASE #: 3:21-mj-05036-DWC-1 Case title: USA v. Johnatakis Date
Filed: 02/11/2021 Assigned to: Judge David W. Christel Defendant () Taylor James Johnatakis,
Docket Text 134567891011 12 13, certified mail” and return your offer herein attached to you.

I indicate my acceptance of your offer by my signature and date.

¢ I do not argue the facts, jurisdiction, law or venue;
« I request you close the Account and issue the Order of the Court to me immediately;
e [request you adjust and set-off all Public Charges by the exemption in accord with Public Policy;

e I request discharge. a

Please respond within (3) days from the date you receive this NON-NEGOTIABLE NOTICE OB ©. ; = 1

ACCEPTANCE. Dishonor may result if you fail to respond.
Sincerely,

Af famen ins —

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

Attachment: “U.S. District Court United States District Court for the Western District of Washington (Tacoma) CRIMINAL DOCKET FOR
CASE #: 3:21-mj-05036-DWC-1 Case title: USA v. Johnatakis Date Filed: 02/ 11/2021 Assigned to: Judge David W. Christel Defendant (1) Taylor

James Johnatakis, Docket Test 13 45678 9 10 11 12 13, certified mail”

cc: Judge David W. Christel United States Courthouse 1717 Pacific Avenue Room 3100 Tacoma WA 983402
cc: William Kennelly Dreher US ATTORNY’S OFFICE (SEA) 700 STEWART ST STE 5220 SEATTLE WA 98101
ce: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001
cc: Angela D. Caesar Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

ce: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 2 of 10 Q
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NON-NEGOTIABLE NOTICE OF ACCEPTANCE > OD)
Ni <
Notice Date: Day: Twenty-three Month: Two Year: 2023 CE ~O)
WILLIAM M MCCOLL

CLERK OF COURT, UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

1717 Pacific Ave., Suite 3100

Tacoma, WA 98402

In reply to : “Case 3:21-mj-05036-DWC Document 3 Filed 02/11/21 Page 1 of 6 UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA UNITED STATES OF AMERICA v. TAYLOR JAMES JOHNATAKIS Defendant, Page
2 of 6, Page 3 of 6, Page 4 of 5, Page 5 of 5 ATRUE BILL: FOREPERSON., Page 6 of 6 ARREST WARRANT G. Michael

Harvey U.S. Magistrate Judge ”

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, accept your Presentment
“Case 3:21-mj-05036-DWC Document 3 Filed 02/11/21 Page 1 of 6 UNITED STATES
DISTRICT COURT FOR THE DISTRICT OF COLUMBIA UNITED STATES OF
AMERICA v. TAYLOR JAMES JOHNATAKIS Defendant, Page 2 of 6, Page 3 of 6, Page
4 of 5, Page 5 of 5 A TRUE BILL: FOREPERSON., Page 6 of 6 ARREST WARRANT G.

Michael Harvey U.S. Magistrate Judge” and return your offer herein attached to you.
I indicate my acceptance of your offer by my signature and date.

I do not argue the facts, jurisdiction, law or venue;
I request you close the Account and issue the Order of the Court to me immediately;
I request you adjust and set-off all Public Charges by the exemption in accord with Public Policy;

I request discharge.

Please respond within (3) days from the date you receive this NON-NEGOTIABLE NOTICE OF |
ACCEPTANCE. Dishonor may result if you fail to respond. rd

Sincerely,

Taylor James Johnatakis Yee |
% 29628 Gamble PL NE

|
}
Kingston, Washington ficial

Attachment: “Case 3:21-mj-05036-DWC Document 3 Filed 02/11/21 Page 1 of 6 UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF COLUMBIA UNITED STATES OF AMERICA v. TAYLOR JAMES JOHNATAKIS Defendant, Page 2 of 6, Page 3 of 6, Page 4 of 5, Page
5 of 5A TRUE BILL: FOREPERSON.., Page 6 of 6 ARREST WARRANT G. Michael Harvey U.S. Magistrate Judge”

ce: Judge David W. Christel United States Courthouse 1 717 Pacific Avenue Room 3100 Tacoma WA 983402

cc: Judge G. Michael Harvey, U.S. District Court, District of Columbia (Washington, DC), 333 Constitution Avenue NW, Washington, D.C. 20001
ce: William Kennelly Dreher US ATTORNY’S OFFICE (SEA) 700 STEWART ST STE 5220 SEATTLE WA 98101

ce: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Angela D. Caesar Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St, N.W. Washington, D.C. 20530 .

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004

cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

ce: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854

ce: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page3of10 >)
NON-NEGOTIABLE NOTICE OF ACCEPTANCE “25 4

Notice Date: Day: Twenty-three Month: Two Year: 2023 CE , AA,

Judge J. Richard Creatura
United States Courthouse
1717 Pacific Avenue, Room 3100
Tacoma, WA 98402-3200

In reply to : “Case 3:21-mj-05036-DWC Document {2 Filed 10/14/21 Page 1 of 2 UNITED STATES DISTRICT COURT WESTERN
DISTRICT OF WASHINGTON AT TACOMA CASE NO. MJ21-5036 D/CO NO. 1:21-cr-00091-RCL ORDER
TRANSFERRING DEFENDANT’S PASSPORT TO CHARGING DISTRICT, Page 2 of 2 Dated this 14th day of October
2021. J. Richard Creatura Chief United States Magistrate Judge”

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, accept your Presentment
“Case 3:21-mj-05036-DWC Document 12 Filed 10/14/21 Page 1 of 2 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA CASE NO. M3J21-5036 D/CO NO. 1:21-cr-00091-
RCL ORDER TRANSFERRING DEFENDANT’S PASSPORT TO CHARGING DISTRICT, Page 2 of 2 Dated
this 14th day of October 2021. J. Richard Creatura Chief United States Magistrate Judge” and return your offer

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L indicate my acceptance of your offer by my signature and date. 3
¢ I do not argue the facts, jurisdiction, law or venue. ? | |

Sincerely,

Taylor James Johnatakis 2 | re |
% 29628 Gamble PL NE
Kingston, Washington Facet

Attachment: “Case 3:21-mj-05036-DWC Document 12 Filed 10/14/21 Page 1 of 2 UNITED STATES DISTRICT COURT WESTERN
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cc: William Kennelly Dreher US ATTORNY’S OFFICE (SEA) 700 STEWART ST STE 5220 SEATTLE WA 98101

cc: WILLIAM M MCCOLL CLERK OF COURT, UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON 1717 Pacific
Ave., Suite 3100 Tacoma, WA 98402

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Angela D, Caesar Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W. Washington, D.C. 20001
cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington. D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004

cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

ce: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854

cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

cc: Judge G. Michael Harvey U.S. District Court, District of Columbia (Washington, DC) 333 Constitution Avenue NW Washington, D.C. 20001

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 4 of 10 (Q)

NON-NEGOTIABLE NOTICE OF ACCEPTANCE a ))
A
Notice Date: Day: Twenty-three Month: Two Year: 2023 CE “wy |

Judge J. Richard Creatura
United States Courthouse
1717 Pacific Avenue, Room 3100
Tacoma, WA 98402-3200

In reply to : “Case 3:21-mj-05036-DWC Document 12 Filed 10/14/21 Page 1 of 2 UNITED STATES DISTRICT COURT WESTERN
DISTRICT OF WASHINGTON AT TACOMA CASE NO. MJ21-5036 D/CO NO, 1:21-cr-00091-RCL ORDER
TRANSFERRING DEFENDANT’S PASSPORT TO CHARGING DISTRICT, Page 2 of 2 Dated this 14th day of October
021. J. Richard Creatura Chief United States Magistrate Judge”

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, accept your Presentment
“Case 3:21-mj-05036-DWC Document 12 Filed 10/ 14/21 Page 1 of 2 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA CASE NO. MJ21-5036 D/CO NO. 1:21-cr-00091-
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(ayper fpomen Pphrratled
Taylor James Johnatakis
% 29628 Gamble PL NE

Kingston, Washington

Attachment: “Case 3:21-mj-05036-DWC Document 12 Filed 10/ 14/21 Page 1 of 2 UNITED STATES DISTRICT COURT WESTERN
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Chief United States Magistrate Judge”

cc: Judge David W. Christel United States Courthouse 1717 Pacific Avenue Room 3100 Tacoma WA 983402

cc: William Kennelly Dreher US ATTORNY’S OFFICE (SEA) 700 STEWART ST STE 5220 SEATTLE WA 98101

cc: WILLIAM M MCCOLL CLERK OF COURT, UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON 17 17 Pacific
Ave., Suite 3100 Tacoma, WA 98402

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Angela D. Caesar Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W. Washington, D.C. 20001
cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

ec: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004

ce: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H, Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854

cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

cc: Judge G. Michael Harvey U.S. District Court, District of Columbia (Washington, DC) 333 Constitution Avenue NW Washington, D.C. 20001

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 5 of 10 (»)

NON-NEGOTIABLE NOTICE OF ACCEPTANCE O)
Notice Date: Day: Twenty-three Month: Two Year: 2023 CE Co

WILLIAM M MCCOLL

CLERK OF COURT, UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

1717 Pacific Ave., Suite 3100

Tacoma, WA 98402

In reply to : “U.S. District Court United States District Court for the Western District of Washington (Tacoma) CRIMINAL
DOCKET FOR CASE #: 3:21-mj-05036-DWC-1 Case title: USA v. Johnatakis Date Filed: 02/11/2021 Assigned to: Judge

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, accept your Presentment
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CRIMINAL DOCKET FOR CASE #: 3:21-mj-05036-DWC-1 Case title: USA v. Johnatakis Date
Filed: 02/11/2021 Assigned to: Judge David W. Christel Defendant (1) Taylor James Johnatakis,
Docket Text 134567891011 12 13, certified mail” and return your offer herein attached to you.

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Sincerely,

jd fpr poate

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

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James Johnatakis, Docket Test 1 3 4.56 789.10 11 12 13, certified mail”

ce: Judge David W. Christel United States Courthouse 1717 Pacific Avenue Room 3100 Tacoma WA 983402

ce: William Kennelly Dreher US ATTORNY’S OFFICE (SEA) 700 STEWART ST STE 5220 SEATTLE WA 98101

cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

ce: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

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Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 6 of 10 (~~

NON-NEGOTIABLE NOTICE OF ACCEPTANCE S =
Notice Date: Day: Twenty-three Month: Two Year: 2023 CE ZO)
WILLIAM M MCCOLL ~“

CLERK OF COURT, UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

1717 Pacific Ave., Suite 3100

Tacoma, WA 98402

In reply to : “Case 3:21-mj-05036-DWC Document 3 Filed 02/11/21 Page 1 of 6 UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA UNITED STATES OF AMERICA v. TAYLOR JAMES JOHNATAKIS Defendant, Page
2 of 6, Page 3 of 6, Page 4 of 5, Page 5 of 5A TRUE BILL: FOREPERSON., Page 6 of 6 ARREST WARRANT G. Michael

Harvey U.S. Magistrate Judge ”

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, accept your Presentment
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DISTRICT COURT FOR THE DISTRICT OF COLUMBIA UNITED STATES OF
AMERICA v. TAYLOR JAMES JOHNATAKIS Defendant, Page 2 of 6, Page 3 of 6, Page
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Michael Harvey U.S. Magistrate Judge” and return your offer herein attached to you.
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I request discharge.

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ACCEPTANCE. Dishonor may result if you fail to respond.

Sincerely,

dope porn fplvate

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

Attachment: “Case 3:21-mj-05036-DWC Document 3 Filed 02/11/21 Page 1 of 6 UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF COLUMBIA UNITED STATES OF AMERICA v. TAYLOR JAMES JOHNATAKIS Defendant, Page 2 of 6, Page 3 of 6, Page 4 of 5, Page
5 of 5 A TRUE BILL: FOREPERSON.., Page 6 of 6 ARREST WARRANT G. Michael Harvey U.S. Magistrate Judge”

ce: Judge David W. Christel United States Courthouse 1717 Pacific Avenue Room 3100 Tacoma WA 983402

cc: Judge G. Michael Harvey, U.S. District Court, District of Columbia (Washington, DC), 333 Constitution Avenue NW, Washington, D.C. 20001
cc: William Kennelly Dreher US ATTORNY’S OFFICE (SEA) 700 STEWART ST STE 5220 SEATTLE WA 98101

ce: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Angela D. Caesar Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W. Washington, D.C. 20001

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cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page } of 1
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NOTICE OF AND RESCISSION OF WAIVER OF RULE
5(c)(3)(D) HEARING AND ORDER OF TRANSFER

Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 7 of 10:

Notice Date: Day: Twenty-five Month: Two Year: 2023 CE

WILLIAM M MCCOLL

CLERK OF COURT, UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

1717 Pacific Ave., Suite 3100

Tacoma, WA 98402

In reply to : “Case 3:1-mj-05036-DWC Document 6 Filed 02/11/21 Page 1 of 2 UNITED STATES DISTRICT COURT WESTERN
DISTRICT OF WASHINGTON AT TACOMA CASE NO. MJ21-5036-DWC WAIVER OF RULE 5(c)(3)(D) HEARING AND

ORDER OF TRANSFER WAIVER OF RULE 5(c)(3)(D) HEARING Page 2 of 2 ORDER OF TRANSFER David W. Christel
United States Magistrate Judge”

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, Rescission the original
“Case 3:1-mj-05036-DWC Document 6 Filed 02/11/21 Page 1 of 2 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA CASE NO. MJ21-5036-DWC WAIVER OF
RULE 5(c)(3)() HEARING AND ORDER OF TRANSFER WAIVER OF RULE 5(c)3\(D) HEARING
Page 2 of 2 ORDER OF TRANSFER David W. Christel United States Magistrate Judge” including every
copy, bearing my signature, wet ink or electronic, Taylor James Johnatakis for cause.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and deed.

I made a mistake Creating, Signing and Presenting the original “Case 3:1-mj-05036-DWC Document 6 Filed
02/11/21 Page 1 of 2 UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON
AT TACOMA CASE NO. MJ21-5036-DWC WAIVER OF RULE 5(c)(3)(D) HEARING AND ORDER OF
TRANSFER WAIVER OF RULE 5(c)(3)(D) HEARING Page 2 of 2 ORDER OF TRANSFER David W.
Christel United States Magistrate Judge”.

Therefore, I now repent of my Sin.

“My son, if you: Have become guarantor for your friend, Have shaken hands in a pledge for a stranger, Have
been snared by the words of your own mouth, Have been caught by the words of your own mouth- Do this at
once, my son, and deliver yourself, For you have dome into the hand of your friend: Go, humble yourself, and
urge your friend. Give no sleep to your eyes, Nor slumber to your eyelids. Deliver yourself like a gazelle from
the hunter’s had, And like a bird from the hand of the trapper.” 1

“He who is guarantor for a stranger suffers harm, But one who hates shaking hands in a pledge is safe.” 2

Sincerely,

fpr fohrate

aylor James Johnatakis
% 29628 Gamble PL NE

Kingston, Washington
Page 1 of 2
Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 8 of £9) [> W/
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NOTICE OF AND RESCISSION OF WAIVER OF RULE
5(c)(3)(D) HEARING AND ORDER OF TRANSFER
Notice Date: Day: Twenty-five Month: Two Year:2023 CE

Attachment: “Case 3:1-mj-05036-DWC Document 6 Filed 02/11/21 Page 1 of 2 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA CASE NO. MJ21-5036-DWC WAIVER OF RULE 5(c)(3)(D)
HEARING AND ORDER OF TRANSFER WAIVER OF RULE 5(c)(3)(D) HEARING Page 2 of 2

David W. Christel United States Magistrate Judge”

cc: Judge David W. Christel United States Courthouse 1717 Pacific Avenue Room 3 100 Tacoma WA 983402

cc: Judge G. Michael Harvey U.S. District Court, District of Columbia (Washington, DC) 333 Constitution Avenue NW Washington,
D.C. 20001

cc: William Kennelly Dreher US ATTORNY’S OFFICE (SEA) 700 STEWART ST STE 5220 SEATTLE WA 98101

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cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

1 Proverbs 6 verses 1 through 5, The Scriptures, published by Institute For Scripture Research (PTY) LTD South Africa
PO. Box 1830 Northriding 2162 South Africa

2 Proverbs 11 verse 15, The Scriptures, published by Institute For Scripture Research (PTY) LTD South Africa P.O. Box 1830
Northriding 2162 South Africa

Page 2 of 2
Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 9/0fLO—\\ poey

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NOTICE OF AND RESCISSION OF WAIVER OF RULE
5(c)(3)(D) HEARING AND ORDER OF TRANSFER

Notice Date: Day: Twenty-five Month: Two Year: 2023 CE

WILLIAM M MCCOLL

CLERK OF COURT, UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

1717 Pacific Ave., Suite 3100

Tacoma, WA 98402

In reply to : “Case 3:1-mj-05036-DWC Document 6 Filed 02/11/21 Page 1 of 2 UNITED STATES DISTRICT COURT WESTERN
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United States Magistrate Judge”

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, Rescission the original
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RULE 5(c)(3)(D) HEARING AND ORDER OF TRANSFER WAIVER OF RULE 5(c)(3)(D) HEARING

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“He who is guarantor for a stranger suffers harm, But one who hates shaking hands in a pledge is-safe?*2—_——

Sincerely,

LOC Johnatakis eS

% 29628 Gamble PL NE

Kingston, Washington
Page 1 of 2

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Case 1:21-cr-00091-RCL Document 127-6 Filed 04/19/23 Page 10 of 10° O)| D W/ ]
WY — La L }

NOTICE OF AND RESCISSION OF WAIVER OF RULE
5(c)(3)(D) HEARING AND ORDER OF TRANSFER
Notice Date: Day: Twenty-five Month: Two Year:2023 CE

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David W. Christel United States Magistrate Judge”

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cc: William Kennelly Dreher US ATTORNY’S OFFICE (SEA) 700 STEWART ST STE 5220 SEATTLE WA 98101

ce: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

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1 Proverbs 6 verses 1 through 5, The Scriptures, published by Institute For Scripture Research (PTY) LTD South Africa
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